USCA4 Appeal: 24-4066      Doc: 26         Filed: 08/26/2024     Pg: 1 of 3




                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 24-4066


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        CHARLES GILBERT GREEN,

                             Defendant - Appellant.



        Appeal from the United States District Court for the Eastern District of North Carolina, at
        Wilmington. Richard E. Myers, II, Chief District Judge. (7:23-cr-00014-M-RN-1)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed in part and dismissed in part by unpublished per curiam opinion.


        ON BRIEF: G. Alan DuBois, Federal Public Defender, Jennifer C. Leisten, Assistant
        Federal Public Defender, OFFICE OF THE FEDERAL PUBLIC DEFENDER, Raleigh,
        North Carolina, for Appellant. David A. Bragdon, Assistant United States Attorney,
        Kristine L. Fritz, Assistant United States Attorney, OFFICE OF THE UNITED STATES
        ATTORNEY, Raleigh, North Carolina, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.
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        PER CURIAM:

               Charles Gilbert Green pled guilty, pursuant to a plea agreement, to two counts of

        distribution of a quantity of cocaine base, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C),

        and possession of ammunition by a convicted felon, in violation of 18 U.S.C. § 922(g)(1).

        The district court sentenced Green to 232 months’ imprisonment, within his advisory

        Sentencing Guidelines range. On appeal, counsel has filed a brief pursuant to Anders v.

        California, 386 U.S. 738 (1967), stating that there are no meritorious grounds for appeal

        but questioning whether Green’s sentence is reasonable. Green was informed of his right

        to file a pro se supplemental brief, but he has not done so. The Government moves to

        dismiss the appeal pursuant to the appellate waiver in Green’s plea agreement. We affirm

        in part and dismiss in part.

               “We review an appellate waiver de novo to determine its enforceability” and “will

        enforce the waiver if it is valid and if the issue being appealed falls within its scope.”

        United States v. Carter, 87 F.4th 217, 223-24 (4th Cir. 2023) (internal quotation marks

        omitted). “[A]n appellate waiver is valid if the defendant knowingly and voluntarily agreed

        to it.” Id. at 224. To determine whether a waiver is knowing and voluntary, “we look to

        the totality of the circumstances, including the defendant’s experience, conduct,

        educational background and knowledge of his plea agreement and its terms.” Id. “When

        a district court questions a defendant during a [Fed. R. Crim. P.] 11 hearing regarding an

        appeal waiver and the record shows that the defendant understood the import of his

        concessions, we generally will hold that the waiver is valid.” United States v. Boutcher,

        998 F.3d 603, 608 (4th Cir. 2021).

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               Our review of the record confirms that Green knowingly and voluntarily waived his

        right to appeal his convictions and sentence, with limited exceptions not applicable here.

        We therefore conclude that the waiver is valid and enforceable and that the sentencing issue

        counsel raises falls squarely within the scope of the waiver.

               In accordance with Anders, we have reviewed the entire record in this case and have

        found no potentially meritorious issues outside the scope of Green’s valid appellate waiver.

        We therefore grant the Government’s motion to dismiss in part and dismiss the appeal as

        to all issues covered by the waiver. We otherwise affirm. This court requires that counsel

        inform Green, in writing, of the right to petition the Supreme Court of the United States for

        further review. If Green requests that a petition be filed, but counsel believes that such a

        petition would be frivolous, then counsel may move in this court for leave to withdraw

        from representation. Counsel’s motion must state that a copy thereof was served on Green.

               We dispense with oral argument because the facts and legal contentions are

        adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                               AFFIRMED IN PART,
                                                                               DISMISSED IN PART




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